                                          Case 2:22-cv-02009-CAS-SK Document 16-1 Filed 04/29/22 Page 1 of 16 Page ID #:138




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                                             15
                                             16                      UNITED STATES DISTRICT COURT

                                             17                      CENTRAL DISTRICT OF CALIFORNIA

                                             18
                                                  SNAIL GAMES USA INC.,                  Case No.: 2:22-cv-02009-CAS-SK
                                             19
                                                             Plaintiff,                  MEMORANDUM OF POINTS
                                             20                                          AND AUTHORITIES IN
                                                       vs.                               SUPPORT OF DEFENDANT
                                             21                                          TENCENT CLOUD LLC’S
                                                  TENCENT CLOUD LLC,                     MOTION TO DISMISS
                                             22                                          PLAINTIFF’S COMPLAINT
                                                             Defendant.
                                             23
                                                                                         Honorable Christina A. Snyder
                                             24
                                                                                         Hearing Requested: May 30, 2022 at
                                             25                                          10 a.m.
                                             26
                                             27
                                             28
                                                  DEFENDANT TENCENT CLOUD LLC’S
                                                  MPA ISO MOTION TO DISMISS                          CASE NO. 2:22-cv-02009-CAS-SK
                                          Case 2:22-cv-02009-CAS-SK Document 16-1 Filed 04/29/22 Page 2 of 16 Page ID #:139




                                              1                                               TABLE OF CONTENTS
                                                                                                                                                                            Page
                                              2
                                              3 INTRODUCTION ..................................................................................................... 1
                                              4 FACTS ..................................................................................................................... 22
                                              5 I.          THE THREE GAMES .................................................................................. 22
                                              6 II.         TENCENT’S ROLE AS SERVER OPERATOR ......................................... 33
                                              7 III.        TENCENT, SNAIL, AND WILDCARD...................................................... 44
                                              8 IV.         SNAIL’S COMPLAINT AGAINST TENCENT ......................................... 66
                                              9 LEGAL STANDARDS ............................................................................................. 6
                                             10 ARGUMENT ............................................................................................................. 7
                                             11 I.          FAILURE TO STATE A CLAIM FOR CONTRIBUTORY
                                                            COPYRIGHT INFRINGEMENT ................................................................... 7
                                             12
                                                            A.        Snail Must Adequately Plead Knowledge to Advance its Claim
F ENWICK & W EST LLP




                                                                      of Contributory Copyright Infringement. ............................................. 7
                       ATTORNEYS AT LAW




                                             13
                                             14             B.        A Claim by Itself Cannot Establish Knowledge ................................... 8
                                             15             C.        Snail’s Allegation of Knowledge is Insufficient as a Matter of
                                                                      Law ........................................................................................................ 9
                                             16
                                                   CONCLUSION........................................................................................................ 13
                                             17
                                             18
                                             19
                                             20
                                             21
                                             22
                                             23
                                             24
                                             25
                                             26
                                             27
                                             28
                                                     DEFENDANT TENCENT CLOUD LLC’S
                                                     MPA ISO MOTION TO DISMISS                                     i                       CASE NO. 2:22-cv-02009-CAS-SK
                                          Case 2:22-cv-02009-CAS-SK Document 16-1 Filed 04/29/22 Page 3 of 16 Page ID #:140




                                              1                                         TABLE OF AUTHORITIES
                                              2                                                                                                              Page(s)
                                              3
                                                   Cases
                                              4
                                                   Gray v. Hudson,
                                              5      2022 WL 711246 (9th Cir. Mar. 10, 2022) ........................................................ 11
                                              6
                                                Loumena v. Kennedy,
                                              7   2015 WL 5963988 (N.D. Cal. Oct. 13, 2015), aff’d, 671 F. App’x
                                              8   446 (9th Cir. 2016) ............................................................................................... 5

                                              9 Luvdarts, LLC v. AT & T Mobility, LLC,
                                                   710 F.3d 1068 (9th Cir. 2013) .............................................................................. 8
                                             10
                                             11 Perfect 10, Inc. v. CCBill LLC,
                                                   488 F.3d 1102 (9th Cir. 2007) .......................................................................... 8, 9
                                             12
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                                                Pryor v. Warner/Chappell Music, Inc.,
                       ATTORNEYS AT LAW




                                             13    2014 WL 2812309 (C.D. Cal. June 20, 2014).................................................... 11
                                             14
                                                Rosen v. Hosting Services, Inc.,
                                             15    771 F. Supp. 2d 1219 (C.D. Cal. 2010) .................................................... 9, 10, 12
                                             16 Viacom Int’l Inc. v. YouTube, Inc.,
                                             17    940 F. Supp. 2d 110 (S.D.N.Y. 2013) .................................................................. 9
                                             18 Wolf v. Travolta,
                                             19   2014 WL 6685560 (C.D. Cal. Nov. 24, 2014) ..................................................... 7

                                             20 Rules and Statutes
                                             21 Federal Rule of Civil Procedure 12(b)(6) .................................................... 1, 2, 6, 13
                                             22
                                             23
                                             24
                                             25
                                             26
                                             27
                                             28
                                                    DEFENDANT TENCENT CLOUD LLC’S
                                                    MPA ISO MOTION TO DISMISS                               ii                    CASE NO. 2:22-cv-02009-CAS-SK
                                          Case 2:22-cv-02009-CAS-SK Document 16-1 Filed 04/29/22 Page 4 of 16 Page ID #:141




                                              1         Defendant Tencent Cloud LLC (“Tencent”) respectfully submits this
                                              2 memorandum of points and authorities in support of its motion to dismiss Plaintiff
                                              3 Snail Games USA Inc. (“Snail”)’s complaint (“Complaint”) pursuant to Federal
                                              4 Rule of Civil Procedure 12(b)(6).
                                              5                                   INTRODUCTION
                                              6         This action stems from a dispute between two video game developers about
                                              7 the origins of their games and who owns the code for the game Myth of Empires.
                                              8 Tencent is not one of those two video game developers. Tencent is a cloud
                                              9 computing service provider that, among other things, provides servers for video
                                             10 games. Tencent does not develop, publish, or sell Myth of Empires, or run, copy, or
                                             11 recreate its code. Instead, Tencent’s servers provide a platform for the multiplayer
                                             12 coordination of the video game, so that individual players in different locations
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                                             13 playing the game on their own computers have the same experience in real time.
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                                             14         Notwithstanding Tencent’s lack of involvement in the underlying ownership
                                             15 and coding dispute between the two video game developers, Snail filed this
                                             16 complaint against Tencent, bringing claims for direct copyright infringement,
                                             17 contributory copyright infringement, and vicarious copyright infringement. All of
                                             18 Snail’s claims rest on the allegation that another video game developer, Angela
                                             19 Online Game Technology Co. Ltd. (“Angela”) copied Snail’s video game when
                                             20 Angela created Myth of Empires. Putting aside that Snail’s claims against Tencent
                                             21 lack merit, Snail fails to state a claim for contributory copyright infringement
                                             22 because Snail does not plausibly allege a basis for Tencent acquiring knowledge
                                             23 that Myth of Empires infringed Snail’s copyright. Indeed, in a separate action
                                             24 between Snail and Angela, Snail has admitted that the purported notice it provided
                                             25 to Tencent did not include information regarding the code that Snail claims is
                                             26 infringed, and instead compared Myth of Empires to a different, third video game,
                                             27 which Snail does not claim to own and which isn’t even mentioned in the
                                             28 complaint. Accordingly, Tencent respectfully requests that the Court dismiss
                                                  DEFENDANT TENCENT CLOUD LLC’S
                                                  MPA ISO MOTION TO DISMISS                1               CASE NO. 2:22-cv-02009-CAS-SK
                                          Case 2:22-cv-02009-CAS-SK Document 16-1 Filed 04/29/22 Page 5 of 16 Page ID #:142




                                              1 Snail’s claim of contributory copyright infringement pursuant to Rule 12(b)(6).
                                              2                                        FACTS
                                              3 I.     THE THREE GAMES
                                              4        There are three video games that the Court should be aware of when
                                              5 adjudicating this dispute:
                                              6        (1)    Myth of Empires is a multiplayer game developed by Angela in
                                              7               which players inhabit a recreation of imperial China, crafting
                                              8               ancient weapons, armor, and structures and waging war upon
                                              9               one another. See Compl. Ex. I at 3 (citing
                                             10               https://store.steampowered.com/app/1371580/Myth_of_Empire
                                             11               s/). By analogy, Mulan. Angela first released Myth of Empires
                                             12               on November 18, 2021. Compl. ¶ 16.
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                                                       (2)    Ark: Survival Evolved is a multiplayer game allegedly
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                                             13
                                             14               developed by Wildcard Properties LLC (“Wildcard”) and
                                             15               “inspired by real-world paleontology” in which the players
                                             16               inhabit a fantasy world with dinosaurs and machine guns. See
                                             17               Compl. ¶ 12; Compl. Ex I at 3 (citing
                                             18               https://store.steampowered.com/app/346110/ARK_Survival_Ev
                                             19               olved/). By analogy, Jurassic Park. Snail, the plaintiff in this
                                             20               action, claims to be the publisher of Ark: Survival Evolved. Id.
                                             21               at ¶ 8. Snail alleges that Ark: Survival Evolved was first
                                             22               released on August 29, 2017, and that it registered Ark with the
                                             23               U.S. Copyright Office on November 12, 2019. Id. at ¶¶ 11, 14.
                                             24               Snail claims that Angela copied Ark: Survival Evolved to create
                                             25               Myth of Empires. Id. at ¶¶ 16-23.
                                             26        (3)    Atlas is a multiplayer game developed and published by
                                             27               nonparty Grapeshot Games. See
                                             28               https://store.steampowered.com/app/834910/ATLAS/. In Atlas,
                                                  DEFENDANT TENCENT CLOUD LLC’S
                                                  MPA ISO MOTION TO DISMISS                2               CASE NO. 2:22-cv-02009-CAS-SK
                                          Case 2:22-cv-02009-CAS-SK Document 16-1 Filed 04/29/22 Page 6 of 16 Page ID #:143




                                              1               players create their own pirates and then sail, explore, and
                                              2               plunder a maritime world filled with other players and mythical
                                              3               dangers like kraken. Id. By analogy, Pirates of the Caribbean.
                                              4               Grapeshot Games released an early access version of Atlas on
                                              5               December 22, 2018. Id. The game has yet to have a full
                                              6               release. There is no claimed copyright registration for this
                                              7               game. And no party in this dispute brings a claim alleging that
                                              8               Atlas is owned by Snail or was impermissibly copied.
                                              9 II.     TENCENT’S ROLE AS SERVER OPERATOR
                                             10         Tencent does not develop, publish, or sell Myth of Empires, nor does it have
                                             11 any ownership interest in Angela. Tencent does not run, copy, or recreate Myth of
                                             12 Empire’s code in the process. Instead, Tencent’s servers coordinate positions and
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                                             13 telemetry data for the players, so that the players have the same experience when
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                                             14 running Myth of Empires on their own computers.
                                             15         An analogy for Tencent’s role in running Myth of Empire’s servers is playing
                                             16 chess long distance. Imagine two people purchase identical chess sets
                                             17 manufactured by a sculptor. The two players each bring their chess sets home. If
                                             18 those players want to play chess together even when in their respective homes, the
                                             19 players could each get out their chess sets and play across distance by relaying their
                                             20 moves, for example “Pawn from E2 to E4.” If the players wanted to play in real
                                             21 time, the players could call each other, and state their moves to one another,
                                             22 allowing them to play the same chess game using their own separate chess sets.
                                             23 The phone company is not displaying, viewing, copying, or using the players’ chess
                                             24 sets. The phone line is merely a method for the players to transmit their moves they
                                             25 are making using their own chess sets.
                                             26         Myth of Empires can be played by multiple players and requires the
                                             27 coordination of multiple moves and other data points every second. But Tencent’s
                                             28 servers largely perform the same role as the telephone company in the chess
                                                  DEFENDANT TENCENT CLOUD LLC’S
                                                  MPA ISO MOTION TO DISMISS                3               CASE NO. 2:22-cv-02009-CAS-SK
                                          Case 2:22-cv-02009-CAS-SK Document 16-1 Filed 04/29/22 Page 7 of 16 Page ID #:144




                                              1 example above. Angela—not Tencent—allegedly sold digital copies of its game to
                                              2 each individual player. Those players then each run their own Myth of Empires
                                              3 game while Tencent runs servers that keep track of the players’ actions and
                                              4 synchronizes them. Tencent is not running Myth of Empires source code.
                                              5 III.    TENCENT, SNAIL, AND WILDCARD
                                              6         Tencent’s involvement with Snail and Wildcard (collectively, “SWC”)
                                              7 started on December 4, 2021, when Tencent received a letter from Snail and
                                              8 Wildcard’s counsel, Robert Schwartz (“Notice of Claimed Infringement” or “the
                                              9 Claim”). Compl. Ex. G. Mr. Schwartz stated that the allegations in the SWC Letter
                                             10 were accurate under penalty of perjury. Id. at 3. The letter alleged “[t]he source
                                             11 code for Ark: Survival Evolved is protected by U.S. copyright law pursuant to
                                             12 Copyright Registration Nos. TX0008844750, TX0008844750, and
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                                             13 TX0008850190.” Id. at 2. The Claim further alleged that Tencent was committing
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                                             14 copyright infringement and violating trade secret law by running the servers for
                                             15 Myth of Empires. Id. The Claim stated that “[t]o investigate, SWC compared code
                                             16 ‘headers’ found in the executable file for Myth of Empires to the code used in Ark:
                                             17 Survival Evolved. A preliminary analysis is attached as Exhibit A.” Id.
                                             18         But the Claim contained no such comparison. See id. The purported
                                             19 comparison in Exhibit A was not a comparison between Myth of Empires and Ark:
                                             20 Survival Evolved, the game in which Snail claims it has a copyright and which
                                             21 forms the basis for Snail’s allegations of infringement in this case. Id. at 6-17.
                                             22 Instead, the comparison Snail and Wildcard sent Tencent was a comparison
                                             23 between Atlas – a different game apparently made by nonparty Grapeshot Games
                                             24 that has not registered any copyright – and Myth of Empires. See id. That Atlas is
                                             25 the game in the alleged comparison in Exhibit A is readily apparent from the first
                                             26 line of that comparison, and was highlighted by Snail and Wildcard in its
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                                                   DEFENDANT TENCENT CLOUD LLC’S
                                                   MPA ISO MOTION TO DISMISS                4               CASE NO. 2:22-cv-02009-CAS-SK
                                          Case 2:22-cv-02009-CAS-SK Document 16-1 Filed 04/29/22 Page 8 of 16 Page ID #:145




                                              1 submission, as shown in the excerpt below:
                                              2
                                              3            Id. at 8.
                                              4            Thus, the only documentation included in Snail and Wildcard’s letter
                                              5 compared the wrong games. In the Claim, Mr. Schwartz swore under penalty of
                                              6 perjury that “SWC compared code ‘headers’ found in the executable file for Myth
                                              7 of Empires to the code used in Ark: Survival Evolved.” SWC has now admitted that
                                              8 statement was false. In a separate action between SWC and Angela, Wildcard’s
                                              9 Development Director submitted a declaration stating that “the analysis we have
                                             10 performed was not generated using that Ark game executable. We used the
                                             11 codebase that we believed that they copied from, and which we therefore believed
                                             12 would reflect the most copying: a live copy of Atlas.” Supplemental Declaration of
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                                             13 Jeremy Stieglitz in Opposition to Plaintiffs’ Motion for Preliminary Injunction,
                                             14 Suzhou Angela Online Game Technology Co., Ltd. v. Snail Games USA Inc., No.
                                             15 21-cv-09552, Dkt. 41-4 at ¶ 86 (C.D. Cal. Jan. 21, 2022).1 Further, SWC submitted
                                             16 a Joint Rule 26(f) Report in which it stated that SWC “performed a preliminary
                                             17 code comparison between MoE [defined as Myth of Empires] and the Atlas source
                                             18 code.”2 Suzhou Angela Online Game Technology Co., Ltd. v. Snail Games USA
                                             19 Inc., No. 21-cv-09552, Dkt. 83 at 6 (C.D. Cal. Apr. 11, 2022) (emphasis added).
                                             20 Importantly, Snail and Wildcard claim no copyright registration in Atlas, do not
                                             21 claim to be the developers or publishers of Atlas, and have asserted no claims
                                             22 against Tencent specific to Atlas in this case.
                                             23
                                             24   1
                                                    In evaluating a motion to dismiss, courts are entitled to take judicial notice of
                                                  other court filings. See Loumena v. Kennedy, 2015 WL 5963988, at *6 (N.D. Cal.
                                             25   Oct. 13, 2015) (“Public records, including judgments and other court documents,
                                             26   are proper subjects of judicial notice.”), aff’d, 671 F. App’x 446 (9th Cir. 2016).
                                                  2
                                                    In an earlier draft of the report that was not filed, SWC had stated – and then
                                             27   deleted – a statement that one of the key documents in the case was a preliminary
                                                  analysis comparing Atlas and Ark code with Myth of Empires code. Snail appears
                                             28   to be walking back from the validity of and representations regarding this analysis.
                                                      DEFENDANT TENCENT CLOUD LLC’S
                                                      MPA ISO MOTION TO DISMISS              5               CASE NO. 2:22-cv-02009-CAS-SK
                                          Case 2:22-cv-02009-CAS-SK Document 16-1 Filed 04/29/22 Page 9 of 16 Page ID #:146




                                              1         The Claim contained other readily provable falsehoods. Exhibit A to the
                                              2 Claim lists “Steps to reproduce/generate files.” Compl. Ex. G at 6. Those
                                              3 instructions purportedly allow a person to produce the same results shown in that
                                              4 exhibit. But following those instruction does not produce the results contained in
                                              5 Exhibit A. Compare Compl. Ex. G (SWC Letter) to Second Declaration of Yang
                                              6 Li Ping, Suzhou Angela Online Game Technology Co., Ltd. v. Snail Games USA
                                              7 Inc., No. 21-cv-09552, Dkt. 38-1 (C.D. Cal. Jan. 14, 2022) [hereinafter “Ping
                                              8 Decl.”] (replication of source code comparison using method stated in SWC Letter).
                                              9 The documentation provided to Tencent was not even remotely close to the
                                             10 unedited results obtained using the described method.
                                             11 IV.     SNAIL’S COMPLAINT AGAINST TENCENT
                                             12         On March 25, 2022, Snail filed a complaint against Tencent bringing claims
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                                             13 for direct copyright infringement, contributory copyright infringement, and
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                                             14 vicarious copyright infringement. Compl. ¶¶ 28-55.
                                             15         Snail’s contributory copyright infringement claim alleges that Tencent
                                             16 received the Claim from Wildcard and Snail USA on December 4, 2021. Id. at
                                             17 ¶¶ 38-46. According to Snail, the Claim “alerted Tencent that Angela had violated
                                             18 Snail USA’s copyrights by using Snail USA’s copyrighted source code to create the
                                             19 Infringing Game” and “reminded Tencent that Tencent was hosting the Infringing
                                             20 Game on its servers.” Id. at ¶ 40. As a result, Snail alleges, “[a]s of the date it
                                             21 received the December 4, 2021 DMCA takedown notice, Tencent knew or had
                                             22 reason to know that it was hosting a game that infringed on Snail USA’s
                                             23 copyrights.” Id. at ¶ 41. Snail’s complaint—based on an inaccurate claim—alleges
                                             24 no other facts or circumstances that would suggest Tencent has knowledge that
                                             25 Myth of Empires violates Snail’s claimed copyright in Ark: Survival Evolved. Id.
                                             26                                 LEGAL STANDARDS
                                             27         “A Rule 12(b)(6) motion tests the legal sufficiency of the claims asserted in a
                                             28 complaint or counterclaim. ‘While a [pleading] attacked by a Rule 12(b)(6) motion
                                                   DEFENDANT TENCENT CLOUD LLC’S
                                                   MPA ISO MOTION TO DISMISS                6                CASE NO. 2:22-cv-02009-CAS-SK
                                Case 2:22-cv-02009-CAS-SK Document 16-1 Filed 04/29/22 Page 10 of 16 Page ID #:147




                                           1 to dismiss does not need detailed factual allegations, a [claimant’s] obligation to
                                           2 provide the ‘grounds’ of his ‘entitlement to relief’ requires more than labels and
                                           3 conclusions, and a formulaic recitation of the elements of a cause of action will not
                                           4 do.’ Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 555, 127 S. Ct. 1955, 167
                                           5 L.Ed.2d 929 (2007). ‘[F]actual allegations must be enough to raise a right to relief
                                           6 above the speculative level.’” Wolf v. Travolta, 2014 WL 6685560, at *1 (C.D.
                                           7 Cal. Nov. 24, 2014).
                                           8         “‘In keeping with these principles a court considering a motion to dismiss
                                           9 can choose to begin by identifying pleadings that, because they are no more than
                                          10 conclusions, are not entitled to the assumption of truth. While legal conclusions
                                          11 can provide the framework of a [pleading], they must be supported by factual
                                          12 allegations.’ Ashcroft v. Iqbal, 556 U.S. 662, 129 S. Ct. 1937, 1950, 173 L.Ed.2d
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                                          13 868 (2009); Moss v. United States Secret Service, 572 F.3d 962, 969 (9th Cir. 2009)
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                                          14 (‘[F]or a [pleading] to survive a motion to dismiss, the non-conclusory ‘factual
                                          15 content,’ and reasonable inferences from that content, must be plausibly suggestive
                                          16 of a claim entitling the plaintiff to relief.’) (citing Twombly and Iqbal); Sprewell,
                                          17 266 F.3d at 988; W. Mining Council v. Watt, 643 F.2d 618, 624 (9th Cir. 1981).
                                          18 Ultimately, ‘[d]etermining whether a [pleading] states a plausible claim for relief
                                          19 will … be a context-specific task that requires the reviewing court to draw on its
                                          20 judicial experience and common sense.’ Iqbal, 129 S. Ct. at 1950.” Wolf, 2014
                                          21 WL 6685560, at *1.
                                          22                                      ARGUMENT
                                          23 I.      FAILURE TO STATE A CLAIM FOR CONTRIBUTORY
                                                     COPYRIGHT INFRINGEMENT
                                          24
                                                     A.     Snail Must Adequately Plead Knowledge to Advance its Claim of
                                          25                Contributory Copyright Infringement.
                                          26         Snail’s contributory copyright infringement claim against Tencent alleges
                                          27 that Tencent infringed Snail’s copyright in Ark: Survival Evolved. Compl. ¶¶ 39-
                                          28 46. To plead a claim for contributory copyright infringement, a plaintiff must
                                                DEFENDANT TENCENT CLOUD LLC’S
                                                MPA ISO MOTION TO DISMISS                7               CASE NO. 2:22-cv-02009-CAS-SK
                                Case 2:22-cv-02009-CAS-SK Document 16-1 Filed 04/29/22 Page 11 of 16 Page ID #:148




                                           1 allege that the defendant had knowledge that copyright infringement was occurring.
                                           2 “[A]ctual knowledge of specific acts of infringement is required for contributory
                                           3 infringement liability.” Luvdarts, LLC v. AT & T Mobility, LLC, 710 F.3d 1068,
                                           4 1072 (9th Cir. 2013) (internal quotations omitted).
                                           5          B.     A Claim by Itself Cannot Establish Knowledge
                                           6          Here, Snail alleges that it sent a DMCA takedown notice to Tencent that
                                           7 claimed that Angela had violated Snail’s copyrights, and that Tencent was hosting
                                           8 the infringing game on its servers. See Compl. ¶ 40. But Snail’s flawed allegations
                                           9 of Angela’s copyright infringement should not, by themselves, create knowledge on
                                          10 the part of Tencent that Angela had in fact infringed Snail’s copyright. See Perfect
                                          11 10, Inc. v. CCBill LLC, 488 F.3d 1102, 1113 (9th Cir. 2007) (explaining that the
                                          12 DMCA notification procedures require the copyright owner to adequately document
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                                          13 the fact of infringement). Claims can be, and often are, mistaken or false. If a bare
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                                          14 claim created knowledge, then most would “know” that the moon landing was
                                          15 faked (it was not), that tomatoes are a vegetable (they are not), or that the Earth is
                                          16 flat (it is not).
                                          17          Moreover, if one party’s allegation of copyright infringement were sufficient
                                          18 to create knowledge of another party’s copyright infringement, that could create an
                                          19 absurd finding that a person or entity “knows” two things which are mutually
                                          20 exclusive. In this dispute, Angela claims that Myth of Empires is a non-infringing
                                          21 work. Snail and Wildcard claim it infringes their game Ark: Survival Evolved. If
                                          22 these bare claims gave rise to knowledge, then someone familiar with these
                                          23 proceedings would have knowledge that Myth of Empires both is and is not
                                          24 infringing Snail’s alleged copyright in Ark: Survival Evolved.
                                          25          The Claim that Snail and Wildcard sent Tencent on December 4, 2021, was a
                                          26 notice of claimed infringement. See Compl. Ex. G at 2. As the name implies, the
                                          27 notice is a claim, not a proof of fact. A notice of claimed infringement cannot
                                          28 impart knowledge unless accompanied by relevant documentation that shows
                                                DEFENDANT TENCENT CLOUD LLC’S
                                                MPA ISO MOTION TO DISMISS                8               CASE NO. 2:22-cv-02009-CAS-SK
                                Case 2:22-cv-02009-CAS-SK Document 16-1 Filed 04/29/22 Page 12 of 16 Page ID #:149




                                           1 clearly, credibly, and consistently that infringement occurred. Where a “notice
                                           2 contains inherently inconsistent information … as a matter of law, [the recipient]
                                           3 cannot be charged with having the requisite knowledge to be contributorily liable.”
                                           4 Rosen v. Hosting Services, Inc., 771 F. Supp. 2d 1219, 1222 (C.D. Cal. 2010).
                                           5 “The DMCA notification procedures place the burden of policing copyright
                                           6 infringement—identifying the potentially infringing material and adequately
                                           7 documenting infringement—squarely on the owners of the copyright.” Perfect 10,
                                           8 488 F.3d at 1113 (emphasis added). See also Viacom Int’l Inc. v. YouTube, Inc.,
                                           9 940 F. Supp. 2d 110, 115 (S.D.N.Y. 2013) (“[T]he burden of showing that [the
                                          10 service provider] knew or was aware of the specific infringements of the works in
                                          11 suit cannot be shifted to [the service provider] to disprove.”).
                                          12         C.     Snail’s Allegation of Knowledge is Insufficient as a Matter of Law
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                                                     Snail’s basis for alleging that Tencent had knowledge of Angela’s alleged
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                                          13
                                          14 infringement is the Claim. See Compl. ¶¶ 39-42. But the Claim did not offer any
                                          15 documentation suggesting that there was copying of the code between Ark: Survival
                                          16 Evolved and Myth of Empires. See Compl. Ex. G. The only documentation
                                          17 submitted in the Claim, Exhibit A, was a comparison of Myth of Empires and Atlas,
                                          18 a different game made by nonparty Grapeshot Games and for which Snail does not
                                          19 allege any copyright registration has been obtained by Snail or any company. Id.
                                          20 The Claim was the equivalent of a movie studio alleging that Mulan copied the
                                          21 script from Jurassic Park, and then submitting a comparison of the scripts for
                                          22 Pirates of the Caribbean and Mulan as evidence. Snail and Wildcard’s
                                          23 documentation was of no apparent relevance to its claim and would not lead a
                                          24 person to suspect, let alone know, that the allegation regarding Ark: Survival
                                          25 Evolved from the letter had any merit. (Indeed, Tencent continues to believe it does
                                          26 not). The Claim was insufficient as a matter of law to establish knowledge.
                                          27         In Rosen, this Court considered the question of whether a notice of claimed
                                          28 infringement created knowledge necessary to prove contributory copyright
                                               DEFENDANT TENCENT CLOUD LLC’S
                                               MPA ISO MOTION TO DISMISS                 9               CASE NO. 2:22-cv-02009-CAS-SK
                                Case 2:22-cv-02009-CAS-SK Document 16-1 Filed 04/29/22 Page 13 of 16 Page ID #:150




                                           1 infringement. 771 F. Supp. 2d at 1222. This Court recounted the relevant facts as
                                           2 follows:
                                           3
                                                     HSI received a purported takedown notice emailed and faxed by Rosen
                                           4         on March 11, 2010. Id. at 4. This letter was titled “DMCA Notice of
                                                     Copyright Infringement,” and certified under penalty of perjury that he
                                           5         is the “owner or an agent authorized to act on behalf of the owner of
                                                     certain intellectual property rights,” and that he has “a good faith belief
                                           6         that the links or materials identified in the addendums attached hereto …
                                                     infringe the IP Owner’s rights according to state, federal, or United
                                           7         States law.” Exhibit A to Declaration of Brian Chambers In Support of
                                                     HSI’s Motion for Summary Judgment. The letter further requested that
                                           8         HSI “remove or disable access to the material or items claimed to be
                                                     infringing.” Id. Attached to this letter was an addendum, listing four
                                           9         “items/links identified in are located on [sic] your network servers.” Id.
                                                     Each of the four items listed were identified as “Photo of Daisy
                                          10         Fuentes,” and for each item a link to a URL was provided. Id.
                                                     Notwithstanding the identification of Daisy Fuentes in the notice, there
                                          11         were in fact no photos of her to be taken down from the website. DSUF
                                                     at 7. In Rosen’s complaint, he identifies the actual subject of the
                                          12         allegedly infringing photographs as Amy Weber. DSUF at ¶ 12.
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                                          13 Id. at 1220-21.
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                                          14         Defendant HSI argued that the inconsistency in the notice—claiming
                                          15 infringement in photos of Daisy Fuentes while providing documentation only of
                                          16 infringement in photos of another woman, Amy Weber—meant the notice was
                                          17 defective as a matter of law and insufficient to show knowledge. This Court
                                          18 agreed. “The Court agrees that the takedown notice is insufficient as a matter of
                                          19 law to impart actual knowledge to HSI. The notice contains inherently inconsistent
                                          20 information. While it recites relevant URLs, the reference to Daisy Fuentes, who is
                                          21 not depicted at any of those URLs, makes the notice defective. Because the notice
                                          22 is defective, as a matter of law, HSI cannot be charged with having the requisite
                                          23 knowledge to be contributorily liable. Therefore, the Court GRANTS defendant’s
                                          24 motion[.]” Id. at 1222.
                                          25         The question before this Court today is almost identical: whether Snail and
                                          26 Wildcard’s Claim – which presented only documentation of potential similarities
                                          27 between the unregistered Atlas and Angela’s Myth of Empires – is sufficient to
                                          28 establish knowledge of copyright infringement in a different work, Ark: Survival
                                               DEFENDANT TENCENT CLOUD LLC’S
                                               MPA ISO MOTION TO DISMISS                 10               CASE NO. 2:22-cv-02009-CAS-SK
                                Case 2:22-cv-02009-CAS-SK Document 16-1 Filed 04/29/22 Page 14 of 16 Page ID #:151




                                           1 Evolved. The answer is the same. It is not sufficient. As a result, Snail’s claims
                                           2 for contributory copyright infringement should be dismissed. See Pryor v.
                                           3 Warner/Chappell Music, Inc., 2014 WL 2812309, at *8 (C.D. Cal. June 20, 2014)
                                           4 (dismissing contributory copyright infringement claim for failure to allege plausible
                                           5 facts that would have provided the defendant with knowledge of infringement).
                                           6         To the reader of Snail and Wildcard’s Claim, the comparison to Atlas was
                                           7 particularly bizarre because neither Snail nor Wildcard claimed to be, nor are they,
                                           8 the developers or publishers of Atlas. Nonparty Grapeshot Games develops and
                                           9 publishes Atlas. The Claim contained nothing to suggest a connection between
                                          10 Grapeshot Games and Snail or Wildcard. See Compl. Ex. G. There was no reason
                                          11 to believe that the Atlas comparison—even if an accurate representation of Atlas
                                          12 and Myth of Empires’ similarities—was suggestive of any infringement of Snail’s
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                                          13 or Wildcard’s rights.
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                                          14         Further, even if the Claim had compared the correct two games—which it did
                                          15 not do—the Claim still would have been defective, because it only compared the
                                          16 headers for the game. See Compl. Ex. G. at 6-17. Indeed, in the Answer that it
                                          17 filed in the case between SWC and Angela, SWC admitted that “because source
                                          18 code is compiled into object code (the ‘executable’ file), Wildcard could see only
                                          19 the higher-level elements of the code and structure, called ‘headers.’” Answer,
                                          20 Suzhou Angela Online Game Technology Co., Ltd. v. Snail Games USA Inc., No.
                                          21 21-cv-09552, Dkt. 27 (C.D. Cal. Dec. 20, 2021). Nothing in the claim itself
                                          22 established that the headers themselves were sufficient to demonstrate
                                          23 infringement, because the Claim did not establish that the headers were original or
                                          24 copyrightable content. Unoriginal content cannot form the basis for copyright
                                          25 infringement. See Gray v. Hudson, 2022 WL 711246, at *9 (9th Cir. Mar. 10,
                                          26 2022) (“Because the use of similar pitch sequences in the Joyful Noise and Dark
                                          27 Horse ostinatos results only from the use of commonplace, unoriginal musical
                                          28 principles, it cannot be the basis for a copyright infringement claim on its own.”).
                                               DEFENDANT TENCENT CLOUD LLC’S
                                               MPA ISO MOTION TO DISMISS                11              CASE NO. 2:22-cv-02009-CAS-SK
                                Case 2:22-cv-02009-CAS-SK Document 16-1 Filed 04/29/22 Page 15 of 16 Page ID #:152




                                           1         Perhaps unsurprisingly, a comparison of the correct games—Ark: Survival
                                           2 Evolved and Myth of Empires—using the methods provided in the Claim looks
                                           3 nothing like the comparison shown in the Claim. Compare Compl. Ex. G (Claim
                                           4 sent to Tencent), to Ping Decl. (replication of source code comparison using
                                           5 method stated in Claim). The actual results do not demonstrate the line-for-line
                                           6 copying that was claimed in the Claim. Id. We can leave to future litigation
                                           7 between Angela and SWC the question of whether the choice to include a heavily
                                           8 edited comparison of a different game made by a different developer in Snail and
                                           9 Wildcard’s Claim was intentionally misleading. But whether intentional or not,
                                          10 that inconsistency between the results shown by Snail and Wildcard and the actual
                                          11 results if you follow the instructions provided undermined the credibility of the
                                          12 Claim. This is another reason that Snail and Wildcard’s Claim, like the notice in
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                                          13 Rosen, “contains inherently inconsistent information,” which makes it defective as
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                                          14 a matter of law. Rosen, 771 F. Supp. 2d at 1222.
                                          15         A service provider, like Tencent, has no ability to determine whether video
                                          16 game code is infringing absent clear, undisputable evidence of infringement or
                                          17 knowledge of infringement. Here, the only information that Tencent received was a
                                          18 purported “notice of claimed infringement” that was inaccurate, defective, and
                                          19 misleading. In a situation where the Court itself has decided that it cannot readily
                                          20 determine whether infringement occurred, and that a months’ long independent
                                          21 expert review is necessary, a third-party like Tencent cannot reasonably be
                                          22 expected to have knowledge of infringement on the basis of one party’s unilateral,
                                          23 unsupported claim of purported infringement. Indeed, Angela has made its own
                                          24 claims in a separate litigation against Snail, and has threatened to bring claims
                                          25 against Tencent if Tencent removes Myth of Empires based on Snail’s inaccurate
                                          26 Claim.
                                          27         Ultimately, Snail’s contributory copyright infringement claim must be
                                          28 dismissed because Snail has failed to carry its burden of pleading knowledge by
                                               DEFENDANT TENCENT CLOUD LLC’S
                                               MPA ISO MOTION TO DISMISS                12              CASE NO. 2:22-cv-02009-CAS-SK
                                Case 2:22-cv-02009-CAS-SK Document 16-1 Filed 04/29/22 Page 16 of 16 Page ID #:153




                                           1 Tencent. Snail alleges that, through the receipt of Snail and Wildcard’s Claim,
                                           2 Tencent gained knowledge that Myth of Empires copied Ark: Survival Evolved.
                                           3 Compl. ¶¶ 39-43. That defective, and inconsistent, Claim cannot form the basis for
                                           4 imparting knowledge to Tencent of infringement. That Claim, if it demonstrated
                                           5 anything at all, only showed possible similarities between nonparty Grapeshot
                                           6 Games’ unregistered Atlas and Myth of Empires. Compl. Ex G. Since the Claim
                                           7 contained no documentation supporting Snail’s claim of infringement in Ark:
                                           8 Survival Evolved, it cannot support a claim of knowledge by Tencent. And without
                                           9 knowledge of infringement, a required element of a contributory infringement
                                          10 claim, Snail’s claim of contributory copyright infringement must be dismissed.
                                          11                                    CONCLUSION
                                          12         Snail’s claim of contributory copyright infringement fails to plausibly allege
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                                          13 that Tencent had knowledge of infringement, a required element. Having failed to
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                                          14 state a claim upon which relief could be granted, Tencent respectfully requests that
                                          15 the Court dismiss Snail’s contributory copyright infringement claim pursuant to Rule
                                          16 12(b)(6).
                                          17 Dated: April 29, 2022                   FENWICK & WEST LLP
                                          18
                                                                                     By: /s/ Eric Ball
                                          19                                             Eric Ball
                                                                                     Attorneys for Defendant
                                          20                                         TENCENT CLOUD LLC
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                                               DEFENDANT TENCENT CLOUD LLC’S
                                               MPA ISO MOTION TO DISMISS               13              CASE NO. 2:22-cv-02009-CAS-SK
